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EASTERN DISTRlc_T oFOL%Us:ANA
UNITED sTATES DISTRICT CoURT F"-E -’JN 15 2033

  

FOR THE EASTERN DISTRICT ()_F LOUISIA` A

 

wlLLlAM'\/YZEL`§\`/,N
§ CLERK S
JESSIE L'EE,_ § *“
Plaimiff_ § CIVIL ACTION
§ FILE NO: 2:18-cv~02887-CJB-JVM
vs.
DEUTSCHE BANK NATIoNAL TRUST § HONOR_ABLE JUPGEf
CoMPANY (As Trusree for Long Beach CARL BARBH;R
Mortgage Loan Trust 2005-WLI)_; § _ b
_ _ _ v MAGISTRATE J UDGE:
JPMOI‘gaIl ChaS€ Bal'lk, N,.A; §` JANIS VAN MEERVELD
Barry G'rodsky, §
Cheri Cotogno Grodsky, § SECTION J
`BMRC Properties, LLC; §
Brian Mahon,
Does 1-100, §
Defendants §

 

OPPOSITION TO DEFENDANTS DEUTCHE BANK, BARRY GRODSKY AND
CHERI COTOGNO GRODSKY’S RESPONSIVE PLEADINGS

 

COM.ES NOW. Plaintiff, Jessie Lee, (“Plaintift”, or “Mr. Lee”). who respectfully
files his Opposition to .Defemlants Deutclze Bank, Barry Grodsky and Cheri Cotogno
Grodsky’s Responsive Pleadings. Filed contemporaneously herewith, Plaintit`f files
Motion and Memorandum ofLaW in Support ofMotion for Extension ofTime to 'Frirle Jury

Trial `Demand.

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_Plaintif.t` opposes the responsive pleadings of Deutche Bank, Barry Grodsky and
Cheri Cotogno Grodsky (“'l`he G'rodskys”), as follows:

The very first thing the Grodskys allege is l. The Complaint fails to state a claim
upon which relief can be granted [Doc.27,p.l], which is not true. At the most, the Court
might require that Plaintiff replead the complaint, but Plaintiff can show that l) there is a
forged Promissory Note; 2) there has never been a hearing prior to eviction, and eviction
paperwork was not signed by a Judge_; and 3) Plaintiff and his tenants was evicted from his
property only after a sheriff or deputy had received 312,000.

Plaintiff stands ready, Willing, and able to amend the complaint, should the Court
agree that there has not been a claim for relief pled. Going by defendants’ responses,
Plaintiff cannot tell, whether or not is necessary to re-plead the complaint

The Defendants next begin the allegations about this Court lacking jurisdiction over
the claims alleged in Plaintist Complaint: “This Honorable Court lacks subject matter
jurisdiction based on the allegations raised" [Doc.27_,p.1].

The Defendants state "3. Grodsky denies the allegations ot`Paragraph l. Further,
there is absolutely no supplemental jurisdiction which Would allow this matter to proceed
in this court. Bany Grodsky, being an attorney owes the duty of candor to the Court, and
to begin, in their responsive pleadings, to make false statements is questionable at best.
Grodsky, representing Deutche Bank, himself and his wife` knows that Plaintiff has
sufficiently pleaded this Court’s jurisdiction, and that this Coui't, does in t`act_. have

supplemental jurisdiction

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The statement about lack of supplemental jurisdiction is made in response to the
following 1[1] of the Complaint: 1, 2, 3, 62_. 64, 74, 82, 90, 95_. 101, 108, 116, 127. The
De'l`endants totally Denied 111 4-6; 8-47; 5()-130. There are several paragraphs that some
extra verbiage was added to the denial, but mostly it just stated: Det`endant denies the
allegations of Paragraph...”.

Defendants assertions in 1]5 [Doc.27,p2]_, “There is no diversity jurisdiction...”
Plaintiff did not cite to 28 U.S.C. 1332 Diversity jurisdiction Plaintiff does not know
where Defendant got the idea from, but what Plaintiff claimed was: 28 U.S.C. §§ 1331,
l367(a), 1345, and other codes, but not 1332 [Doc. l_.p. l].

Grodskys jj 9 “Grodsky admits...only that Grodsky is a national bank”‘? Plaintiff
said nothing about Grodsky being a national bank.

`Defendant denies 11 24? Complaint 11 24 “.P.laintiff" s letter to Sheriff Guzman on
April...states_, ...” Plaintiff copy/pasted the letter into the complaint Plaintiff clearly cannot
see what Defendant is denying, the denial makes no sense.

Defendant jj 64._ stated: “To the extent any timely remedies could be available these
can only be pursued in state court as this court does not have jurisdiction to grant the relief
Lee is seeking"` [Doc.27,_p.5]. Plaintiff tends to believe that De'l"endant does not have much
faith in the federal co'urts, and believes this court has jurisdiction over absolutely nothing.
_Defendant ';Hl 66 (comp.64), 76 (comp.74), 84 (comp.82), 92 (comp.90), etc. all said the
same thing “cause of action is based solely and exclusively on state law and this court has

no jurisdiction over his claim”.

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NOTICE OF NEW EVENTS AND AD_DITIONAL CRIMES

The Plaintiff would like to bring to this court’s attention the following new actions
taking place by the Defendants. 'In l\/Iarch 2018, the Plaintil`f asked of this court, for a TRO
against the Deit`endants and protection from this court, which was denied. Subsequently,
the lower state court issued an Order for the above-mentioned Defendants, to Show Cause
why the Defendant’s Motion should not be granted_, which included several alleged crimes
committed by the Defendants. That hearing is scheduled to take place on July 6, 2018.
The Order to Show Cause was issued to the Defendants and the Sherif.t`s Department on
l\/lay 29, 2018. 'l`he very next day, on l\/Iay 30_, 2018_. While this federal case was being
heard and the lower state court Order to Show Cause was in effect, the Defendants and
Barry Grodsky, the President of the Louisiana Bar Association, had the Sheriff and three
Deputies, come to the Plaintift" s house and put the Plaintiff and all his belongings out onto
the street, along with three tenants and their belongings The Sheriff did this with a Writ
of Possession and claimed he had authority with that Writ of Possession, to put everyone
out of the Plaintif_t"s property at that time. The Sheriff was tol_d, by this Plaintit`f, that there
were three criminal complaint letters filed at the Sheriff’s Office against the Defendants
and he was given a copy of a letter addressed to the Sheriff. Additionally, the Sherift` was
handed a copy of a signed Order, for the Defendants to appear in the lower state court and
show cause, as to why this Plaintiff’s l\/lotion should not be granted. At which time, the
Sheriff informed this Plaintifl`, that the criminal charges that were filed against the
Defendant is handled by the Sheriff”s Criminal Division. That he was with the Sherit`f"s

Civil Division and that it is the Sheri_f_t’s Civil Divi_sion that is taking possession of this

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property and putting everyone out at this time. The Sherit`f Was informed by this Plaintiff
that he could not put everyone out of this property and that is was against federal and state
law to do so. As Louisiana state law states that once the Sheriff has a Writ of Possession,
an eviction hearing must take place_. in order for the Sheriff to take physical possession of
the property. ln Louisiana, the new owners must file for an eviction hearing against the
tenants or the occupants of the foreclosed property. They must file for a Notice of
Possession, which is the actual eviction law Suit and obtain a Judgement which the court
would then issue a Warrant of Possession, which gives the Sheriff the authority to remove
the occupants and take physical possession of the property. By Federal Law, a tenant that
is part of a foreclosed property cannot be put out for 90 days. This was told to the Sheri'l`f
and his Deputies, who then called in to the Sheriff’s Office and acknowledged the state
court Order to Show Cause and acknowledged the three criminal complaints against the
Defendants. filed with the Sheriff’ s Office and were told to put them out anyway. Which

they did.

All the above stated, happened on l\/lay 30, 2018, by the Sheriff claiming authority
through documents held in his hand that were not even si_gned. The Sherift’s Department
pretended to have authority_, through documents that were not signed. There was no Notice
of Possession_, no Warrant of Possession, no eviction hearing held and no signed eviction
court order. This act oftreason. by the Sheriff’ s Office_. is a blatant Constitutional violation
of the 5th and 14th amendments of the U.S. Constitution. lt is not just a violation of the

taking clause against J`essie Lee, it is a violation of the Sherist solemn sworn Oath of

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Of_fice, an agregious act against the American People and a serious misuse and abuse of

power.

T he Sherif`f and his Of`fice was paid over $12,000.00_, by the Defendant, to
participate in this criminal act, which amounts to a bribe. This court should be furious of
these criminal acts that are continuously taking place under its authority and needs to act
expeditiously Because of these outrageous actions, against Jessie Lee and the Peo_ple of
America, the Plaintiff wishes the court, not only to issue a TRO against the stolen property,
which the Defendants are now trying to quickly sell, but to also grant the Plaintiff an
extension of`time, to amend and enlarge the law suit to include the Sheriff_’s Department,
the Louisiana Bar Association, the moving companies and the Deputies, in their personal
capacity, for violating their Oath of Office and the U.S. Constitution and committing

crimes against Jessie Lee and the People of America.

This Plaintiff will also be seeking a TRO and a freezing of all Federal Funding to
the Sherif.`.f’s Department. The American Taxpayers should not have to pay for a Sheriff’s
Department that refuses to protect the People and refuses to investigate reported crimes_.

but instead accepts bribes and participates in crimes against the American People.

lt is this Plaintiff’s opinion and belief that the Louisiana Bar’s President, Barry
Grodsky, has committed crimes that he is now trying to cover up. I---Ie used a fraudulent
Note, that was signed by Jess Almanza, as Vice President of Long Beach Mortgage
Company. less Almanza. according to his resume and court recorded depositions, of the

use of electronic signatures, shows that Jess Almanza never worked for Long Beach

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Mortgage Company. That means that the blank endorsement of Jess Almanza, on the
Plaintiff’ s Promissory Note_, used in the courts to steal his property. is without any authority
and a forgery The use of forged and counterfeit documents are federal crimes that are
felonies. It is mandatory to investigate all felonies that are reported to any official, in
accordance with U.S. Code, Title 18_, Section 4. The investigation is not optional, it is

mandatory, according to the law.

This Plaintiff objects to the Defendant’s attempt to cover up their alleged crimes, by
stating that they have not been properly served, by U.S. Postal Certified mail. Any
Louisiana Citizen over the age of 18, other than the Plaintiff.`, can serve the Defendants.
The Postal worker that delivered the Complaint and Summons, to the Defendants, is a
Louisiana Citizen and over the age of 18. He acquired the Defendant’s signatures as proof
of service. The occupation of the private individual that does service is irrelevant All
parties have been served and have acknowledged that they have received service by way
of requesting an extension from the court to answer the Complaint, which was granted. By
answering the Complaint, they have accepted service. Nowhere in the Louisiana statutes
or laws. does it state specifically that a Louisiana Citizen. over the age of 18, cannot deliver
and serve a Louisiana resident, because of his occupation as a Postal worker. As the U.S.

Post Office is the original Process Server.

J.P. Morgan Chase was properly served by U.S. Postal mail. The Green return
postal card is stamped received by GBDS Mail Services, which is the corporate receiving

mail service that is responsible for delivering the mail to the proper departments, of J.P.

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Morgan Chase. Upon receipt of the Complaint and Summons, on A.pril 9, 2018, J.P.
l\/lorgan Chase sent this Plaintiff a letter stating they will respond by l\/lay 25, 2018, in
which they failed to do so and are now currently in Def`ault. This Plaintiff asks of this court
for a second time, to do the right thing and issue a Default against J.P. Morgan Chase, for
failure to answer, plead or otherwise defend. Plaintiff objects to Grodsky’s Motion to
Dismiss J.P. Morgan Chase for lack of service and their request to dismiss should be

denied.

The Plaintiff further objects to the President of the Louisiana Bar Barry Grodsky"s
attempt to distract attention away from the alleged crimes of forgery, fraud, counterfeiting
and property theft. The U.S. Supreme court stated that substance overrules technicalities
and procedures The substance here is the crimes that were committed against the Plaintiff

and the theft of his property, by way of conspiracy and RICO racketeering

According to the U.S. Supreme court, if you are representing yourself. your case
cannot be dismissed for failure to state a claim upon which relief can be granted. Haz`nes

v Kerner, No. 70-5025, 404 U.S. 519 (1972).

Additionally, the U.S. Supreme court ruled that a court errs, if the court dismisses a
pro se litigant’s case without instruction, of how pleadings are deficient and how to repair

the pleadings B.Pla¢sky v. C_IA, 953 F.2d 25, 26 28 and Czr. 1991_)

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MEMORANDUM OF LAW
E_LKINS v. UNITED STATES, 364 U.S. 206 (1_960) 364 U.S. 206?? N`o. 126.
Argued March 28-29, 196(). Decl`dea’ June 27 , 1960.

"In a government of laws," said Mr. Justice Brandeis, "existence of the government will
be imperiled if it fails to observe the law scrupulously. Our Government is the potent, the
omnipresent teacher. For good or f`or ill, it teaches the whole people by its example. Crime
is contagious. If the Government becomes a lawbreaker, it breeds contempt for law; it
invites every man to become a law unto himself`; it invites anarchv." 277 U.S., at 485 .
(Dissenting opinion.)

CONCLUSION

Plaintiff claims that the evasive nature of the Answers filed by Duetche Bank and
Grodsky, who is acting as an attorney for his wife, and as a defendant, has not really put
Plaintiff on notice of the grounds of`Defendants’ intentions of a defense.

Due to defendants’ attempts to confuse the Plaintiff and the Court, continually
claiming that this Court lacks all jurisdiction in hopes to get the case dismissed on those
grounds, Plaintiff contends that his complaint clearly shows the Court’s jurisdiction is
proper, and that the Court will strike each 11 in Which the defendants claim the court lacks
jurisdiction, as attempting to cause prejudice and ridicule upon the Plaintif`f. Plaintiff really
believes that the whole document should be stricken_. as made in bad faith, evasive, and it
does not put Plaintiff on notice of any legitimate defenses, but the responses about this

court"s jurisdiction should definitely be stricken.

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J.P. Morgan Chase’ request for Dismissal, because of lack of service, should be
Denied.

The Plaintiff" s request, for a non-responsive default against J.P. Morgan Chase,
should be Granted.

The Plaintiffs request for a Trial by a Constitutional Jury, should be Granted.

The Defendants each should be made to pay the Plaintiff $700__000.00 dollars in
damages and penalties, for the theft and armed robbery of his property.

The Plaintiff s request, for a TRO should be Granted, along with any other Relief
the court may deem necessary.

Respectfully submitted, this 15ch day of June_. 2018_,

By: W`;ifl `lUN£ l'S, ll)l?

0 Jessie Lee, Plaintiff
2315 Republic St.
New Orleans, LA 70119
ct230tjll7@juno.com
(904) 514-7346

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CERTIFICATE OF SERVICE
l hereby Certify, that 1 have, this 15th day of June 2018, served a copy of 0pp0sition to
Defendants Deutche Bank, Barry Grodsky and Cheri Cotogno Grodsky’s Responsive
Pleadings,_ upon defendants, through their attorneys on file, by causing to be deposited
with U`S`PS, First Class Mail, postage prepaid and addressed as follows:

Barry 1-1. Grodsky

TAGGART MORTON, LLC
1100 Poydras St., Ste 2100
New Orl.eans, LA 70163-2100

l\/lark Christopher Landry
Newman, Mathis,

Brady & Spedale, PLC
433 Metairie Rd., Ste. 600
Metairie, LA 70005

Deutsche Bank Trust Company

Attention: Lynne Malina_, (Legal Department)
60 Wall Street, 37th Floor

New York. NY 10005

Cheri Cotogno Grodsky
1541 Octavia Street
New Orleans, LA 70115

§‘%Wg `j¢>><Ut lime \§, 1018
ssie Lee, Plaintiff

2315 Republic St.
New Orleans, LA 70119

ct2sctj l l. 7@juno.com
(,904) 514-7346

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